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                                                                      Receivable Fund, LP
                                                            10

                                                            11                                 UNITED STATES BANKRUPTCY COURT
              1635 VILLAGE CENTER CIRCLE, SUITE 200




                                                            12                                          DISTRICT OF NEVADA
               TEL.: (702) 634-5000 – FAX: (702) 380-8572




                                                            13
                      LAS VEGAS, NEVADA 89134




                                                                 In re:
AKERMAN LLP




                                                            14                                                         Case No.: 21-14486-abl
                                                                 INFINITY CAPITAL MANAGEMENT, INC.                     Chapter 7
                                                            15
                                                                                     Debtor.                           Adversary Case No. 21-01167-abl
                                                            16

                                                            17                                                             DECLARATION OF JARED M.
                                                                 HASELECT-MEDICAL RECEIVABLES                               SECHRIST IN SUPPORT OF
                                                            18   LITIGATION FINANCE FUND                                  TECUMSEH–INFINITY MEDICAL
                                                                 INTERNATIONAL SP,                                       RECEIVABLE FUND, LP’S REPLY IN
                                                            19
                                                                                                                        SUPPORT OF MOTION FOR PARTIAL
                                                                                     Plaintiff,
                                                            20                                                             SUMMARY JUDGMENT AS TO
                                                                 v.                                                      DIRECT PURCHASE RECEIVABLES
                                                            21

                                                            22   TECUMSEH-INFINITY MEDICAL
                                                                 RECEIVABLES FUND, LP,
                                                            23
                                                                                     Defendant.
                                                            24

                                                            25   TECUMSEH-INFINITY MEDICAL
                                                                 RECEIVABLES FUND, LP,
                                                            26
                                                                                     Counter-Claimant,
                                                            27

                                                            28   v.

                                                                 65410923;9
                                                                        Case 21-01167-abl      Doc 135      Entered 10/24/22 10:37:01       Page 2 of 3




                                                                 HASELECT-MEDICAL RECEIVABLES
                                                             1
                                                                 LITIGATION FINANCE FUND
                                                             2   INTERNATIONAL SP,

                                                             3                       Counter-Defendant.

                                                             4
                                                                 HASELECT-MEDICAL RECEIVABLES
                                                             5   LITIGATION FINANCE FUND
                                                                 INTERNATIONAL SP,
                                                             6

                                                             7                       Counter-Claimant

                                                             8   v.

                                                             9   TECUMSEH-INFINITY MEDICAL
                                                                 RECEIVABLES FUND, LP,
                                                            10
                                                                                     Counter-Defendant.
                                                            11
              1635 VILLAGE CENTER CIRCLE, SUITE 200

               TEL.: (702) 634-5000 – FAX: (702) 380-8572




                                                            12
                                                                                   I, Jared M. Sechrist, pursuant to 28 U.S.C. § 1746, declare as follows:
                      LAS VEGAS, NEVADA 89134




                                                            13
AKERMAN LLP




                                                                              1.   My name is Jared M. Sechrist. I am over the age of twenty-one years, of sound
                                                            14
                                                                   mind, and fully competent to testify in this case. I have personal knowledge of the facts stated
                                                            15
                                                                   herein, all of which are true and correct.
                                                            16
                                                                              2.   I am an attorney in the law firm of Garman Turner Gordon LLP, counsel for party
                                                            17
                                                                   in interest Tecumseh–Infinity Medical Receivable Fund, LP, (“Tecumseh”) in the above-
                                                            18
                                                                   referenced case. I submit this declaration in support of Tecumseh’s R e p l y i n S u p p o r t
                                                            19     o f Motion for Partial Summary Judgment as to Direct Purchase Receivables (the “Motion”) [ECF
                                                            20     No. 90]. I have personal knowledge of the matters set forth herein. If called upon to testify as to
                                                            21     the matters herein, I could and would do so.
                                                            22                3.   Attached as Exhibit J to the Motion is a true and correct copy of the February 17,
                                                            23     2021 Order issued by the Circuit Court of Cook County, Illinois in the Meyer Action, as defined
                                                            24     …
                                                            25

                                                            26     …
                                                            27

                                                            28     …
                                                                                                                     2
                                                                 65410923;9
                                                                        Case 21-01167-abl          Doc 135     Entered 10/24/22 10:37:01        Page 3 of 3




                                                                   in the Motion, which is a publicly available document my firm obtained.
                                                             1
                                                                               4.     Attached as Exhibit K to the Motion is a true and correct copy of the docket sheet
                                                             2
                                                                   for the Meyer Action, which is a publicly available document my firm obtained.
                                                             3

                                                             4                I declare under the penalty of perjury of the laws of the United States of America that the
                                                             5   foregoing is true and correct.
                                                             6                Dated this 24th day of October, 2022.

                                                             7

                                                             8                                                         /s/Jared M. Sechrist, Esq.
                                                                                                                      JARED M. SECHRIST, ESQ.
                                                             9

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AKERMAN LLP




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